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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                           No. CR-24-01104-001-PHX-KML
10                    Plaintiff,                         ORDER
11   v.
12   Petra Rubi Maldonado-Gaytan,
13                    Defendant.
14
15             After a magistrate judge released defendant Petra Maldonado-Gaytan under the Bail
16   Reform Act (“BRA”) in this criminal case, immigration officials removed her from the

17   United States. She now moves to dismiss the indictment with prejudice alleging the
18   immigration removal jeopardized the district court’s ability to try her and infringed her

19   rights under the BRA, Speedy Trial Act, and Fifth and Sixth Amendments. (Doc. 24.)

20   Because the magistrate judge crafted a release condition that ensured—if Maldonado-
21   Gaytan abided by it—her removal was not involuntary and the court’s ability to try her was
22   not jeopardized, the motion to dismiss is denied.

23        I.      Factual and Procedural History

24             In June 2024, a grand jury indicted Maldonado-Gaytan on drug and money

25   laundering charges. (Doc. 3.)        She was arrested in November 2024. Because the

26   government sought to detain Maldonado-Gaytan pending trial, Magistrate Judge Deborah
27   M. Fine conducted a detention hearing a few days after the arrest. (Doc. 15.)
28             Maldonado-Gaytan is a citizen of Mexico, but she was brought to the United States
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 1   as a child and held DACA status for many years until she was not permitted to renew it.
 2   (Doc. 14 at 2.) Because she had no legal status in the United States by the time of the
 3   detention hearing, everyone recognized she might well be subject to an immigration
 4   detainer, that is, being taken into immigration custody and placed in removal proceedings
 5   if the court released her. (Doc. 28-1 at 6, 8, 10–12, 17.)1 But consistent with Ninth Circuit
 6   case law, the magistrate judge recognized that she could not consider the detainer and
 7   potential for removal in determining flight risk under the BRA, and the government
 8   explicitly declined to ask that the judge do so (Doc. 28-1 at 8.) See United States v. Santos-
 9   Flores, 794 F.3d 1088, 1092 (9th Cir. 2015). Instead, Judge Fine told the parties that if she
10   decided to release Maldonado-Gaytan, she would impose a condition that accounted for
11   the detainer. (Doc. 28-1 at 8.)
12            Defense counsel indicated Maldonado-Gaytan was already represented by an
13   immigration attorney because she had applied for adjustment of status due to a U.S. citizen
14   relative. (Doc. 28-1 at 10) Although defense counsel had not consulted with that attorney,
15   he believed Maldonado-Gaytan would have some rights to a bond hearing in immigration
16   proceedings. (Doc. 28-1 at 13). Defense counsel also planned to notify the immigration
17   attorney “as soon as possible” if Maldonado-Gaytan was detained in immigration custody
18   after the court released her. (Doc. 28-1 at 12.)
19             Judge Fine previewed the condition she was considering imposing, which included
20   components requiring Maldonado-Gaytan to contest removal and decline voluntary
21   departure, and to maintain weekly contact with her defense counsel and pretrial services
22   even if deported. (Doc. 28-1 at 13–14.) Defense counsel reviewed the proposed condition
23   with his client, did not object, and felt “the intent of the instruction [was] clear.” (Doc. 28-
24   1 at 14; see also Doc. 28-1 at 24 (Judge Fine explaining the condition required Maldonado-
25   Gaytan to make “strenuous efforts fighting removal and deportation.”).) The government
26   also did not object. (Doc. 28-1 at 15.)
27            Judge Fine then found by a preponderance that Maldonado-Gaytan was a serious
28
     1
         All pincite references are to the document’s ECF header and not its internal pagination.

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 1   flight risk, but that conditions could reasonably assure her appearance at further court
 2   proceedings. (Doc. 28-1 at 18.) In making that release finding, Judge Fine explicitly
 3   “recognize[d] that [she could not] consider that she’ll likely go into executive branch
 4   custody with immigration services,” and did not “know what the result [would be] or have
 5   any control over the result of those proceedings.” (Doc. 28-1 at 18.) She imposed
 6   conditions requiring:
 7          You shall not agree to voluntary departure from the United States and shall
 8          contest removal/deportation from the United States, including appealing at
            all levels all removal/deportation orders; and if deported or removed, . . . take
 9          every lawful action to facilitate lawful entry into the United States for further
10          court proceedings.

11          Even if deported, you must still contact counsel and pretrial services weekly
            by telephone and provide a good telephone number at which you can be
12
            reached.
13
     (Doc. 28-1 at 23; see also Doc. 16 at 2.)
14
            Judge Fine elsewhere observed “These release conditions won’t go into effect until
15
     and unless she is released from the immigration detainer or released from immigration
16
     custody.” (Doc. 28-1 at 19.) She explained what that meant to Maldonado-Gaytan:
17
            So, ma’am, we don’t know whether you’re actually going to go into
18
            immigration custody. I suspect you will, based on all the information that we
19          have, which is limited. And if you are released from that custody, whether
            it’s in the United States or after removal to Mexico, you must follow these
20          release conditions.
21   (Doc. 28-1 at 19.) Specifically as to maintaining contact with her lawyer and pretrial
22   services after potential removal, Judge Fine explained, “if you go into immigration custody
23   and then you get out of that, whether it’s in the United States or in Mexico, you need to
24   contact your lawyer right away. . . . You need to contact pretrial services right away. Same
25   if that’s within the United States.” (Doc. 28-1 at 24.)
26          After Maldonado-Gaytan was released on conditions under Judge Fine’s order, she
27   was taken into immigration custody as everyone had suspected. But although she initially
28   filed a bond request in her immigration case, she reversed course after the immigration


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 1   judge indicated he would give her extra time (which she would spend in custody) to gather
 2   documents to support that request. (Doc. 28-2 at 2.) The following colloquy occurred:
 3             [Maldonado-Gaytan:] . . . I have a 2-year-old daughter that has never been
 4             away from me and, um, she’s in a stable, un unstable place going back and
               forth from her dad and my mom. For that reason, I wanted to request
 5             voluntary release. I don’t know if that’s possible at this time.
 6
               [Immigration Judge:] Voluntary release into the United States?
 7
               [Maldonado-Gaytan:] No, into my home country.
 8
               ...
 9
10             [Immigration Judge:] . . . So you’ll be back in court on January 6th . . . . If
               you want to request voluntary departure, you can do that at that time and I
11             will entertain that, okay?
12
               [Maldonado-Gaytan:] Okay. Thank you, your Honor.
13
               [Immigration Judge:] Alright. . . . Oh, wait, miss, . . . one more. Do you
14             withdraw your bond request then?
15
               [Maldonado-Gaytan:] Yes, your Honor. Alright. Alright.
16
               [Immigration Judge:] So the court will enter an order, withdrawing that.
17
18   (Doc. 28-2 at 3.)2 The immigration judge’s January 6 removal order noted Maldonado-
19   Gaytan had waived appeal. (Doc. 28-3 at 3.) She was removed to Mexico through Nogales
20   on January 8, 2025. (Doc. 28-4 at 3.)
21             As of February 13, 2025, Maldonado-Gaytan had not contacted pretrial services.
22   (Doc. 28-5 at 2.) It is not clear whether she has maintained contact with defense counsel.
23       II.         Analysis
24             A district court may dismiss an indictment under its supervisory powers “when the
25   investigatory or prosecutorial process has violated a federal constitutional or statutory right
26   and no lesser remedial action is available.” United States v. Barrera-Moreno, 951 F.2d
27   2
       The transcript identifies the immigration judge and Maldonado-Gaytan only as “Speaker
     1” and “Speaker 2” and one time appears to attribute one of Maldonado-Gaytan’s answers
28   to Speaker 1, the immigration judge. The identities of the speakers are clear from the
     content of their remarks.

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 1   1089, 1092 (9th Cir. 1991). The purposes of exercising supervisory authority in these
 2   circumstances are to implement a remedy for executive violations of recognized rights, to
 3   preserve judicial integrity, and to deter illegal conduct. United States v. Munoz-Garcia, 455
 4   F. Supp. 3d 915, 918 (D. Ariz. 2020) (quoting United States v. Hasting, 461 U.S. 499, 505
 5   (1983)). But the court only has authority to serve those purposes when the executive
 6   violates a known constitutional or statutory right. See Barrera-Moreno, 951 F.2d at 1092
 7   (“Courts do not have the authority to supervise out-of-court executive procedure in the
 8   absence of a constitutional or statutory violation.”).
 9          In 2015, the Ninth Circuit issued an opinion limiting the way lower courts may
10   consider immigration detainers during detention proceedings. See generally Santos-Flores,
11   794 F.3d 1088. After Santos-Flores, district courts may not consider the possibility of a
12   defendant’s detention or removal by immigration authorities in making an individualized
13   detention determination because the BRA requires flight risk to “involve an element of
14   volition.” Id. at 1091; see also id. at 1093 (relevant question is whether defendant poses a
15   “voluntary flight risk”). And if the government “jeopardizes the district court’s ability to
16   try” a criminal defendant by placing him “in immigration detention or removing him,” the
17   district court may “craft an appropriate remedy.” Id. at 1092.
18          After Santos-Flores, several judges in this district have read that opinion to
19   authorize dismissal of criminal cases based on a tension they perceive between the BRA
20   and the Immigration and Nationality Act (“INA”), which in certain circumstances seems
21   to require detention pending removal. See, e.g., United States v. Lutz, No. CR-19-00692-
22   001-TUC-RM (BGM), 2019 WL 5892827, at *3–*4 (D. Ariz. Nov. 8, 2019); United States
23   v. Castro-Guzman, No. CR-19-2992-TUC-CKJ (LCK), 2020 WL 3130395, at *3 (D. Ariz.
24   May 11, 2020) (collecting cases); United States v. Munoz-Garcia, 455 F. Supp. 3d 915,
25   920 (D. Ariz. 2020). In these cases, courts typically found the removal infringed a
26   defendant’s rights under the Speedy Trial Act and constitutional right to counsel. Munoz-
27   Garcia, 455 F. Supp. 3d at 920.
28          In contrast, several circuit courts have held there is no inherent conflict between the


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 1   BRA and INA. See Castro-Guzman, 2020 WL 3130395, at *3 (collecting circuit court
 2   cases); United States v. Ventura, 96 F.4th 496, 501 (2d Cir. 2024) (“ICE’s detention of a
 3   criminal defendant ordered released under the BRA is lawful per se.”). And another
 4   Arizona district judge declined to dismiss where a magistrate judge had imposed a
 5   detention condition similar to the one here because it ensured the court’s ability to try the
 6   defendant was not jeopardized. See United States v. Velasquez, No. CR-16-624-PHX-JJT,
 7   Doc. 40 at 3–6 (D. Ariz. Aug. 19, 2016); cf. United States v. Sixto, No. CR-23-01240-001-
 8   PHX-DWL, 2023 WL 7282360, at *2 (D. Ariz. Nov. 3, 2023) (declining to issue injunction
 9   against immigration detention, joining “unbroken line of courts” concluding a defendant
10   released under the BRA may still be detained under the INA).
11          This court need not decide whether the BRA and IRA are in tension because Judge
12   Fine’s conditions harmonized the two statutes by ensuring Maldonado-Gaytan’s rapid
13   removal was volitional here and, if she followed the conditions, the court’s ability to try
14   her was not jeopardized.
15          First, as to volition. Particularly because Maldonado-Gaytan’s counsel had
16   indicated bond might be available to her during the immigration proceedings (Doc. 28-1 at
17   13) and contesting removal would normally slow down those proceedings, the condition
18   requiring Maldonado-Gaytan to refuse voluntary departure and contest removal at all levels
19   could have eliminated any potential tension between the BRA and INA. And indeed, when
20   Maldonado-Gaytan initially filed a request for bond, the immigration judge explained that
21   it might be available but she would need to gather additional paperwork. (Doc. 28-2 at 2.)
22   In this unusual situation—where Maldonado-Gaytan abruptly reversed course,
23   withdrawing her request for bond and instead requesting voluntary departure based on her
24   daughter’s needs (Doc. 28-2 at 2-3)—she did not lack control over her removal. Cf. United
25   States v. Resendiz-Guevara, 145 F. Supp. 3d 1128, 1138 (M.D. Fla. 2015) (“It is undisputed
26   that Defendant’s unavailability to face the charges against him is not due to his own volition
27   but the Executive Branch’s decision to deport him.”). It is when the flight risk is entirely
28   involuntary, unlike here, where other Arizona judges have held Santos-Flores, the potential


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 1   tension between the BRA and INA, and the Sixth Amendment is implicated. See Castro-
 2   Guzman, 2020 WL 3130395, at *5 (finding defendant unavailable for trial “through no
 3   fault of his own”); Munoz-Garcia, 455 F. Supp. 3d at 921 (“counsel’s inability to assist
 4   with Defendant’s defense is [a] result of the Government’s decision to remove Defendant
 5   following the Magistrate Judge’s release order, rather than of Defendant’s own volitional
 6   act”). Maldonado-Gaytan’s detention during immigration proceedings and eventual
 7   removal were at least partially voluntary in this case, because she chose voluntary departure
 8   over attempting to qualify for bond.
 9          Second, Judge Fine’s release condition ensured that even if she was deported, the
10   district court’s ability to try Maldonado-Gaytan was not jeopardized. The release condition
11   provided that even if deported, Maldonado-Gaytan was required to take every lawful action
12   to facilitate her lawful entry into the United States for further court proceedings and contact
13   her defense attorney and pretrial services weekly. (Doc. 16 at 2.) Judge Fine repeatedly
14   explained that meant Maldonado-Gaytan had to maintain those weekly contacts whether
15   or not she was removed and whether she was in Mexico or the United States. (Doc. 28-1
16   at 19, 24.) This language, combined with Arizona’s proximity to the Mexico border (which
17   reduces logistical difficulties in returning for trial), led another district judge to conclude
18   even an involuntary deportation did not jeopardize the district court’s ability to try the
19   defendant. See Velasquez, No. CR-16-624-PHX-JJT, Doc. 40 at 5–6. This court agrees.
20          Ultimately, it is a defendant’s burden to show a violation of the BRA, Speedy Trial
21   Act, or Sixth Amendment creates prejudice meriting dismissal. United States v. Medina,
22   524 F.3d 974, 980 (9th Cir. 2008) (Speedy Trial Act); Resendiz-Guevara, 145 F. Supp. 3d
23   at 1139 (Fifth and Sixth Amendments); see also Ventura, 96 F.4th at 501 (defendant bears
24   burden of showing immigration detention is pretextual after release under BRA).
25   Maldonado-Gaytan has not met that burden here in light of her release conditions,
26   especially where defense counsel has provided no information suggesting whether she has
27   or has not maintained contact with him. Her motion to dismiss is therefore denied.
28


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 1       III.   Conclusion
 2          The denial of Maldonado-Gaytan’s motion to dismiss leaves open the question of
 3   where the case goes from here. It appears that in failing to maintain contact with pretrial
 4   services even after her deportation Maldonado-Gaytan may have violated her release
 5   conditions, which could justify issuing a warrant.3 It is also possible defense counsel may
 6   be maintaining contact with Maldonado-Gaytan such that the government could be ordered
 7   to make legal provisions for her return to stand trial, such as parole. See United States v.
 8   Perez-Canez, No. CR-18-29-PHX-JJT, 2020 WL 1000029, at *2 (D. Ariz. Mar. 2, 2020).
 9   The parties are ordered to confer regarding appropriate next steps. Within fourteen days of
10   the date of this order, the government must file an appropriate pleading of no more than
11   seven pages (for example, a motion to revoke pretrial release) reflecting its position.
12   Maldonado-Gaytan must respond to that pleading within fourteen days, again in no more
13   than seven pages. If the parties agree on next steps, they may instead move the court for
14   appropriate relief in a joint pleading of no more than seven pages within fourteen days.
15          Accordingly,
16          IT IS ORDERED denying Maldonado-Gaytan’s motion to dismiss indictment with
17   prejudice (Doc. 24).
18          IT IS FURTHER ORDERED the parties must confer regarding next steps and file
19   a pleading as outlined above on or before May 14, 2025.
20          Dated this 30th day of April, 2025.
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       It is less clear whether she violated the release condition requiring her to vigorously
28   contest deportation given Judge Fine’s statement that the conditions would not go into
     effect until Maldonado-Gaytan was released from immigration custody. (Doc. 28-1 at 19.)

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